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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS

CONFORMIS, INC. and JOHN MICHAEL
SCHAUB,

                 liSILLLIllti,
                                           Civil Action No. 1:20-CV-10890-IT
     v.                                    Leave granted on July 22, 2020 to file
                                           memorandum that exceeds page limitations
AETNA, INC. and AETNA LIFE
                                           (Dkt. No. 12)
INSURANCE COMPANY,

                Defendants.


MEMORANDUM OF LAW IN SUPPORT OF DEFENDANTS' MOTION TO DISMISS
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       Plaintiffs Conformis, Inc. ("Conformis") and John Michael Schaub filed a Complaint for

Injunctive Relief and Damages (Dkt. No. 1) (the "Complaint" or "Compl.") against Defendants

Aetna Life Insurance Company ("ALIC") and Aetna, Inc.' (together with ALIC, "Aetna"), in

which ronfomiis 211Pges vAtioils state 12w cnilses of nction and Plaintiffs togefhPr 211Pge

violations of the Employee Retirement Income Security Act of 1974, as amended ("ERISA").

Pursuant to Federal Rule of Civil Procedure 12(b)(6), Aetna moves to dismiss the entire Complaint

for failure to state a claim with the sole exception of Mr. Schaub's ERISA denial of benefits claim.

                                    I.      INTRODUCTION

       In reviewing Plaintiffs' Complaint, one might ask: Why would Mr. Schaub, who lives in

Colorado, file an ERISA denial of benefits claim in the District of Massachusetts? The reason, as

evident from Plaintiffs' pleading, is that this action is really an attempt by Conformis, a

Massachusetts-based medical device manufacturer, to coopt Mr. Schaub's ERISA denial of

benefits claim and turn it into a quasi-class action to force Aetna to cover the Conformis custom

total knee replacement device on a nationwide basis. In an attempt to disguise its motivation and

to bring credibility to this ploy, Conformis brings companion (and baseless) state law claims.

       ronformis' strgtegy turns         TSA on its he.d. PFTSA is federal stqute ‘,vith the express

purpose of creating uniform rules for employee benefit plans; it is not a vehicle by which well-

heeled medical device manufacturers can force insurers and ERISA-covered plans to pay for their

products. And Conformis' attempt to do so as an assignee brazenly flouts settled First Circuit

precedent, and indeed highlights the very policy purpose of limiting assignments.




I Plaintiffs have named Aetna, Inc. as a defendant, but it is an improper party to this action, as no
allegations are averred against it. The only proper party defendant named is Aetna Life Insurance
Company.


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          Conformis' business dispute with Aetna began nearly two years ago when, in September

2018, Aetna updated and re-published Clinical Policy Bulletin ("CPB") No. 0660, to state that

custom knee replacements (a category that includes, but is not limited to, the Conformis System2)

were "experiment21 And investigntionn1." Sint' thPn, confomis has doggedly sent Aetna

increasingly threatening correspondence and cease-and-desist letters, aimed at changing Aetna's

decision.

          After these avenues failed, Conformis turned to litigation. But without a contract with

Aetna, or standing to sue under ERISA, the only claims Conformis can muster against Aetna are

tenuous state law claims, such as product libel, tortious interference, or unfair trade practices. And

Conformis' chances of prevailing on these claims are slim—indeed, other courts have dismissed

similar state law claims in the same circumstances in Mr. Schaub's home state of Colorado.3

          Consequently, Conformis opted for a novel tactic: get an assignment of benefits from Mr.

Schaub—a participant in an Aetna-administered plan with a coverage dispute—and piggyback on

his right to sue for benefits under ERISA with a broad and bogus claim for breach of fiduciary

duty and equitable relief. Conformis then tosses in its state law claims for good measure, claims

LU   vy-hich Mr. Schaub is not e-v-en a party.

          At bottom, the Complaint presents the Court with two unrelated, standalone lawsuits—

one a state tort law case by Conformis, based on Aetna's decision that custom knee replacement

systems (not just Conformis') are "experimental and investigational"; and the other an ERISA case



2Capitalized terms not otherwise defined herein retain the definitions assigned to them in the
Complaint.
3 See, e.g., TMJ Implants, Inc. v. Aetna, Inc., 498 F.3d 1175, 1196, 1200-01 (10th Cir. 2007)
(concluding that statements regarding a medical device being "experimental and investigational"
were expressions of opinion, and affirming dismissal of state law defamation, product
disparagement, and intentional interference claims).


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by Mr. Schaub, for benefits that he claims Aetna denied improperly. Not only have Plaintiffs

failed to state plausible claims in both cases, but the cases are incompatible to attempt to combine

in one pleading.

       aPiwca, reriferrri; ?/ ect?e rigniri?1- A efrin far if? rdirtirnu i. de fe rt" 4 " fi e" r egP r d i n ,i,,   custom knees

       should be dismissed under Rule 12(b)(6):

                 o Conformis' product disparagement claim (Count I) fails as a matter of law,
                   given that Conformis insufficiently alleges falsity or bad intent with respect to
                   the challenged stated opinion of Aetna that the effectiveness of custom knee
                   implants is not established by the clinical literature;

                 o Conformis' tortious interference claim (Count II) fails because the Complaint
                   does not allege Aetna's improper or intentional interference in any actual or
                   identifiable contract or business relationship; and

                 o Conformis' Chapter 93A claim (Count III) fails because the Complaint alleges
                   no unfair conduct by Aetna that could form the basis for a plausible claim, since
                   Aetna's stated opinion that custom knees are experimental and investigational
                   followed a thorough review of available medical literature, and it is a reasoned
                   conclusion in furtherance of Aetna's and its members' legitimate interests.

   • Second, the Court should reject Conformis' attempt to inject itself into Mr. Schaub's

       ERISA claims via an assignment of benefits. As Plaintiffs admit, Mr. Schaub's health plan

       contains an anti-assignment provision. But the First Circuit has enforced these provisions,

       contrary to Plaintiffs' conclusory allegations. Enforcing the anti-assignment provision will

       ensure that manufacturers are not able to weaponize ERISA to shore up whatever state law

       claims they might have. With no actionable assignment, Conformis lacks any means of

       suing under ERISA, and Counts IV, V, and VI should be dismissed as to Conformis.

   •   Third, if the Court accepts Conformis' conclusory allegation that the anti-assignment

       provision in Mr. Schaub's plan is unenforceable, Conformis has standing to sue under

       ERISA. But if Conformis can sue in Mr. Schaub's name under ERISA, it follows that

       ERISA preempts Conformis' state law claims, given that those claims—and the relief


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        Conformis seeks—are duplicative of the ERISA claims. The box Conformis fmds itself in

        shows the effect of Plaintiffs' having squished two distinct lawsuits together in this action.

        Moreover, if Conformis has standing to sue under ERISA, its breach of fiduciary duty

        claims iindPr rolint V sholild be dismissed with respect to a11Pg2tinns beyond Mr schmib's

        dispute over benefits. Conformis itself has no plausible basis on which to allege that Aetna

        owed it a fiduciary duty under ERISA.

    •   Fourth, Mr. Schaub's ERISA claims should be dismissed, beyond his claim for wrongful

        denial of benefits under 29 U.S.C. § 1132(a)(1)(B) in Count IV. Specifically, (1) his claim

        for equitable relief under § 1132(a)(3) (Count V) should be dismissed as a repackaged

        denial of benefits claim4; (2) his claim for denial of a full and fair review under § 1133

        (Count VI) should be dismissed because that section does not provide a private right of

        action; and (3) his request for prospective injunctive relief should be dismissed for lack of

        standing because he alleges no immediate risk of harm from Aetna in the future.5

Accordingly, Aetna asks that the Court dismiss Plaintiffs' Complaint.




4 This very court recognized as much in a recent opinion. See Weissman v. United Healthcare Ins.
Co., No. 1:19-CV-10580-ADB, 2020 WL 1446734, at *7 (D. Mass. Mar. 25, 2020).
5 Plaintiffs demand "a trial by jury on all issues so triable," see Compl. at 30, but they do not
specify to which counts they intend their demand to apply. If Plaintiffs' ERISA claims in Counts
IV, V, and/or VI survive the instant Motion, Aetna would move to strike Plaintiffs' jury demand
with respect to those claims, given that this Court does not recognize a right to a jury trial under
ERISA. See, e.g., Gammon v. Reliance Standard Life Ins. Co., No. 1:18-CV-11665-DPW, 2020
WL 1190926, at *3 (D. Mass. Mar. 12, 2020) (noting that "ERISA does not provide for a trial by
jury and the majority of courts, within and without the First Circuit, have found no congressional
intent to provide such a right') (quoting Turner v. Fallon Cmty. Health Plan Inc., 953 F. Supp.
419, 423 (D. Mass 1997)); Tracey v. Mass. Inst. of Tech., No. CV 16-11620-NMG, 2019 WL
1005488, at *4 (D. Mass. Feb. 28, 2019), aff'd, 395 F. Supp. 3d 150 (D. Mass. 2019) ("In accord
with the great weight of authority in the federal courts holding actions under ERISA to remedy
alleged violations of fiduciary duties are equitable in nature, there is no right to a jury trial under
the Seventh Amendment in this action.").


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           II.   RELEVANT FACTUAL AND PROCEDURAL BACKGROUND6

A.        Aetna's Clinical Policy Bulletin No. 0660

          At issue in this case is Aetna's CPB No. 0660, which provides clinical guidance regarding

knee replacement surgeries.         The CPB, which is currently titled "Unicompartmental,

Bicompartmental, and Bi-unicompartmental Knee Arthroplasties," was first issued in 2003.7

Aetna has revised and updated the CPB 21 times, most recently on June 17, 2020.8 As Plaintiffs

admit, the CPB and each update is not unique to Mr. Schaub's health plan. See Compl. ¶ 4

(alleging that "Aetna implemented and has, upon information and belief, universally followed

Policy No. 0660 .      .").

          On September 21, 2018, Aetna issued a revised version of CPB No. 0660, reflecting

Aetna's determination that all customized total knee implants were "'experimental and

investigational because [their] effectiveness has not been established.'" See Compl. In 41-42.

Plaintiffs do not allege that, prior to that change, CPB No. 0660 provided that customized total

knee implants were not experimental or investigational. See id. ¶ 46.

B.        Conformis' Crusade to Convince Aetna to Change Its Clinical Policy

          The Complaint represents Conformis' latest attempt to compel Aetna to change its clinical

determination that custom total knee implants in general, and by extension the Conformis custom

knee in particular, are experimental and investigational. Conformis first sent Aetna a letter about

CPB No. 0660 on April 29, 2019. See id. ¶ 63. As Plaintiffs allege, Aetna considered Conformis'

letter and its attached bibliography, but it did not convince Aetna to alter its CPB except to add


6 In reciting and referring to Plaintiffs' allegations here for purposes of the instant Motion, Aetna
does not admit those allegations, and Aetna reserves the right to contest them if necessary.
7 See http://www.aetna.com/cpb/medical/data/disclaimer/history/600_699/0660.html (last visited
July 23, 2020).
8 Ibid.




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cites to studies that, in Aetna's opinion, supported its conclusion that the Conformis custom knee

was experimental and investigational. See id. ¶¶ 65-66.

       On January 13, 2020, Conformis sent Aetna a "cease and desist" letter with respect to CPB

No 0660. Roo id    11 70. Aetna Acknowledged receipt of the letter but did not othPrwise respond
before Plaintiffs filed their Complaint. See id. IN 70-72, 75.

C.     Mr. Schauh's Claims

       Mr. Schaub receives healthcare coverage through his employer, Genesis HCC ("Genesis"),

under the "Aetna Choice POS II — Advantage Plan — APCN PLUS health plan" (the "Genesis

Plan"). See Compl. Tll 76-77. ALIC is the third-party administrator for the Genesis Plan, and

ALIC "contracts with eviCore Healthcare ("eviCore") to handle claims under the Genesis Plan,

including Mr. Schaub's."9 See id. ¶ 78.

       Mr. Schaub describes his claim for benefits in paragraphs 88-120 of the Complaint. On

March 20, 2020, Mr. Schaub signed a purported assignment of benefits to Conformis. See Compl.

Ex. A. Plaintiffs do not allege that Mr. Schaub will need any additional services with respect to

his claim. See Compl. ¶ 121.

                              III.   STANDARD OF REVIEW

       The Court should dismiss a complaint that fails to allege sufficient facts to state a claim for

relief that is plausible on its face. Fed. R. Civ. P. 12(b)(6); Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009). To be facially plausible, a complaint must contain "factual content" that "allows the court

to draw the reasonable inference that the defendant is liable for the misconduct alleged." Id.



9 Plaintiffs allege that ALIC was the Genesis Plan third party administrator, yet throughout
Plaintiffs' causes of action, they lodge allegations against "Aetna," a term that Plaintiffs define to
include Aetna, Inc. as well as ALIC. But Plaintiffs do not allege any actions or wrongdoing by
Aetna, Inc.—nor could they, given that it is a holding company that is separate from ALIC. Aetna,
Inc. had no duties or dealings with the Genesis Plan whatsoever.


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Although the Court must accept well-pleaded facts as true on a motion to dismiss, mere "labels

and conclusions," a "formulaic recitation of the elements of a cause of action," and "naked

assertions devoid of further factual enhancement" do not state a claim. Id. In addition, there must

he "more than n sheer possibility that n defendant has acted iinlawPilly" M; s,9,9 Roll 4t1 corp.

v. Twombly, 550 U.S. 544, 555 (2007). "If the factual allegations in the complaint are too meager,

vague, or conclusory to remove the possibility of relief from the realm of mere conjuncture, the

complaint is open to dismissal." S.E.C. v. Tambone, 597 F.3d 436, 442 (1st Cir. 2010).

                                      IV.     ARGUMENT

A.     Conformis Fails to State Claims Under Its Massachusetts Common Law and
       Statutory Causes of Action (Counts MIDI°

       1.       Count I Fails to State a Claim for Product Disparagement/Trade Libel

       A product disparagement or trade libel claim "seek[s] to impose liability on a defendant

for harm sustained by a plaintiff as a result of the publication of a false statement about the plaintiff

to others[,]" and "affords a remedy for harm to the economic interests of the injured party that

results in pecuniary loss." Hipsaver, Inc. v. Kiel, 464 Mass. 517, 522 (2013) (citations omitted).

To prevail, a plaintiff must prove that a defendant "(1) published a false statement to a person other

than the plaintiff; (2) 'of and concerning' the plaintiff's products or services; (3) with knowledge

of the statement's falsity or with reckless disregard of its truth or falsity; (4) where pecuniary harm

to the plaintiff's interests was intended or foreseeable; and (5) such publication resulted in special

damages in the form of pecuniary loss." Id. at 523. "[A] failure of proof as to even one element

would be sufficient to defeat a claim for commercial disparagement." Id. at 524.




1° As noted in Section IV.0 infra, if this Court permits Conformis to proceed in Mr. Schaub's stead
to bring ERISA denial of benefit claims pursuant to the purported assignment, then all three of
Conformis' state law claims are fully preempted and should be dismissed on that basis alone.


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       Conformis has the burden to prove that Aetna published a false statement about it to a third

party. See Flotech, Inc. v. E.I. Du Pont de Nemours Co., 627 F. Supp. 358, 365 (D. Mass. 1985),

aff'd, 814 F.2d 775 (1st Cir. 1987) (in commercial disparagement action, plaintiff must prove

falsity of offPnding stAtemPutsl Conformis fails to sufficiently a IlegP that a ny statement in the

CPB is false. The CPB simply states that "Aetna considers customized total knee implant

experimental and investigational because its effectiveness has not been established." See CPB,

attached hereto as Exhibit 1 (II VI at 6)." As is clear from the face of the document, the CPB

summarizes scientific studies and articles, citing the clinical authors' own conclusions and noting

the studies' limitations and drawbacks. See generally Exhibit 1. The CPB discusses custom knee

replacements in general, and while concluding that the effectiveness of such devices has not been

established, it does not specifically call out Conformis. Indeed, Aetna only mentions Conformis

in a subheading related to clinical studies that specifically reference its device. Conformis fails to

identify any falsity in Aetna's CPB—nor could it, because the CPB only sets forth dispassionate,

fact-laden summaries of scholarly publications, and concludes on the data that all custom knees

are experimental and investigational.
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the Centers for Medicare and Medicaid Services, along with certain commercial insurance carriers,

cover the Conformis System; (ii) the CPB cites to four of the same studies that Conformis cites in

support of its product; and (iii) Conformis believes that Aetna's definitions of "experimental

services" and "investigational services" improperly exclude the Conformis System from coverage.



" In ruling on Aetna's Motion, the Court may consider documents sufficiently referred to in
Plaintiffs' Complaint without converting the motion to dismiss into a motion for summary
judgment—including the CBP at issue here, to which Plaintiffs refer in detail throughout their
Complaint. See, e.g., Giragosian v. Bettencourt, 614 F.3d 25, 27-28 (1st Cir. 2010); Hahren v.
Brown, 431 Mass. 838, 839-40 (2000) (citations omitted).


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See Compl. ¶¶ 5, 44, 45, 53, 56-59. None of these grounds alleges that Aetna's statements in the

CPB are false. Indeed, the challenged statements and conclusions, which apply in the same way

to all custom knees, rely upon no fewer than 110 scholarly articles and studies, presenting

comprehensive Plata And demonstrating wP11-supported expert AnAlysis 'CP        RXhibit    1   At   /5-50.

While Conformis may disagree with the opinions and conclusions reached by some of those

scholars, doctors and experts, or may disagree with Aetna's interpretation, Conformis did not, and

cannot, show that Aetna's stated opinions are false. This deficiency highlights Conformis' motive

in bringing this flawed, hybrid-theory lawsuit—to attempt to strong-arm Aetna into covering the

Conformis System under benefit plans that Aetna administers.

        Conformis alleges further that several commercial insurers cover the Conformis System.

However, even assuming arguendo the truth of that allegation, the fact that other carriers cover the

product does not allege plausibly that Aetna's CPB conclusions are false. This factor simply shows

that another insurer may have had a different opinion. See TMJ Implants, Inc., 498 F.3d at 1200-

01 (Tenth Circuit concluded that Aetna's statements denoting a medical device as "experimental

and investigational" were expressions of opinion, and affirmed dismissal of defamation, product

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v. Mass. Gen. Hosp., 780 F.3d 479, 486 (1st Cir. 2015) (in context of qui tam action under federal

False Claims Act, recognizing that expressions of opinion and matters of scientific judgment

cannot constitute a false statement). Conformis does not (and cannot) allege that the other insurers

reviewed the same medical information, studied the same clinical issues, underwent the same

vigorous review, or came to a reasoned conclusion. See id. IT 47-49. Nonetheless, Conformis'

point concerning other carriers' views is a red herring, as it does not support a claim that Aetna's

opinions about the clinical science are false.




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          Next, Conformis must allege plausibly, by an exacting standard mirroring the "actual

malice" standard for defamation claims, that Aetna published the challenged statements with

knowledge of or reckless disregard to their falsity. See Hipsaver, Inc., 464 Mass. at 529-31. To

meet this stAndArd, "Mhere must be sufficient evidence to permit the conclusion that the defendant

in fact entertained serious doubts as to the truth of his publication." Id. at 530 (quoting St. Amant

v. Thompson, 390 U.S. 727, 731 (1968)). Here, Conformis asserts that Aetna did not pay enough

credence to "the wealth of positive indications set forth in" the several clinical studies cited in its

Complaint, and Aetna failed to consider other "literature and [] registry data." Compl. ¶¶ 59-61.

           Even assuming the truth of these alleged oversights—which are belied by the CPB's

lengthy bibliography, see Exhibit 1 at 65-75—nowhere does Conformis show that Aetna acted

with reckless disregard for truth or falsity. It is clear from the CPB's text that Aetna undertook a

thorough review of available data and literature discussing the relative strengths and weaknesses

of all customized knee implants, and Aetna reached a conclusion with which Conformis disagrees.

Different parties' review of significant clinical data and literature likely will often lead to different

opinions and conclusions, but those opinions and conclusions cannot fathomably constitute
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that Aetna harbored serious doubts about the truth of the CPB's statements such that Aetna could

be deemed to have acted with reckless disregard. Hipsaver, Inc., 464 Mass. at 529-31.

           Third, Conformis must allege plausibly that Aetna intended or recognized that the

challenged statements would, and did, result in pecuniary harm to Conformis. Id. at 534 (quoting

Dulgarian v. Stone, 420 Mass. 843, 852 (1995)). Here, Conformis does not allege that Aetna

intended its general statements about custom knees to cause harm to Conformis, nor does

Conformis specifically allege pecuniary hann that could be remedied by, for example, a monetary




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damages award. See Compl. ¶ 140 (alleging harm to Conformis' goodwill and brand, affording

"no adequate remedy at law."). Accordingly, this fourth element of Conformis' disparagement

claim fails for lack of pleading Aetna's intent to cause harm.

         Astly Conformis twist provP that it artnally sustained    "SPeCiAi damages" in the   form of

pecuniary loss. Hipsaver, Inc., 464 Mass. at 535. Conformis does not identify specific instances

whereby patients would have received its implant but for Aetna's policy; nor does it allege any

amount of actual or estimated lost revenue brought about as a direct and immediate result of

Aetna's CPB. Indeed, Mr. Schaub went forward with his procedure using the Conformis System

despite Aetna's coverage determination, thereby proving that Conformis cannot allege any

damages from that instance. Conformis' failure to allege this essential fifth element of special

damages from pecuniary loss alone necessitates dismissal of Count I.

       2.       Count II Fails to State a Claim for Tortious Interference with a Contractual
                or Business Relationship

       Count II, a claim for tortious interference, also fails, given that the Complaint does not

allege any facts establishing improper interference, or identifying any actual or prospective

contract with which Aetna knowingly interfered by improper motive or means. To state a plausible

claim for tortious interference with contractual relations, "the plaintiff must allege facts to support

the inferences that: (1) he had a contract with a third party; (2) the defendant knowingly induced

the third party to breach that contract; (3) the interference was not only intentional, but also

`improper' in motive or means of accomplishment; and (4) the plaintiff was harmed by the

defendant's actions." Ligotti v. Daly .)01L Commc 'ns, Inc., C.A. No. 16-11522-MLW, 2018 WL

1586340, at *7 (D. Mass. Mar. 26, 2018) (citing JNM Hospitality, Inc. v. McDaid, 90 Mass. App.

Ct. 352, 354 (2016)). Similarly, the elements of tortious interference with advantageous business

relations are (1) a known advantageous relationship; (2) deliberate interference; (3) improper in



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motive or means; and (4) resulting economic harm. Tuli v. Brigham & Women's Hosp., 656 F.3d

33, 43 (1st Cir. 2011) (citing Ayash v. Dana-Farber Cancer Inst., 443 Mass. 367, 394-95 (2005)).

       Massachusetts courts recognize that "[t]ortious interference has become the 'tort du jour'

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inappropriate behavior for which there should be a remedy from normal competitive behavior

permissible in the marketplace." Pembroke Country Club, Inc. v. Regency Say. Banks, F.S.B., 62

Mass. App. Ct. 34, 38 (2004). Where a defendant's purpose lay solely in achieving its own

legitimate advancement, there is no improper motive or means to sustain a tortious interference

claim. Id. at 39; see also Sherman v. Clear Channel Outdoor, Inc., 889 F. Supp. 2d 168, 176-77

(D. Mass. 2012) (no actionable improper motive where defendant acted in pursuit of its own

business purposes). "That the plaintiff may have suffered a loss as a consequence of the

defendant's pursuit of its own interest is a by-product of a competitive marketplace; it does not

render the defendant's effort tortious." Pembroke Country Club, Inc., 62 Mass. App. Ct. at 39.

       Count II alleges in conclusory form that "Conformis had established contractual

relationships and/or advantageous business relationships with physicians and patients,"12 of which

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Complaint fails to identify any specific contracts or business relationships with any discernible

third party that are the subject of the alleged interference. It is well accepted that a plaintiff "may

not speculate about future business relationships when alleging this tort," but must base its claim

on "a specific business relationship that was interfered with by [Aetna]." Singh v. BC/BS ofMass.,

Inc., 308 F.3d 25, 47-48 (1st Cir. 2002). The "mere possibility" that physicians or patients would



12 Conformis' allegations make no sense in the context of health insurance plans, as no such

"contracts" could possibly exist between Conformis and either individual physicians or patients
regarding use of the Conformis System.


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have potentially formed or continued contractual or business relationships with Conformis is not

sufficient to plead plausibly the existence of a relationship that would underpin the first element

of Conformis' tortious interference claim. Sherman, 889 F. Supp. 2d at 177 (dismissing tortious

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         Further, Count II fails because, although the Complaint includes a conclusory allegation

that Aetna was aware of Conformis' unidentified contracts and business relationships, see Compl.

  133, Conformis states no facts whatsoever to allege plausibly how Aetna knew, or could have

known, of any such alleged relationships. It is axiomatic that Conformis must sufficiently allege

Aetna's knowledge of the purported contractual or business relationship as a prerequisite to

establishing knowing inducement of a third party's breach, the second prong of a tortious

interference claim. See, e.g., Grammenos v. Zolotas, 356 Mass. 594, 597 (1970) (a person must

know of a contract to be under a duty to refrain from interfering with it) (citing Anderson v.

Moskovitz, 260 Mass. 523, 526 (1927)).

         In addition, the Complaint pleads no facts to satisfy the legal standard to establish the third

element—an improper motive or means. Conformis merely asserts that Aetna misrepresented to

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therefore would not be covered under Aetna's commercial plans. Id. ¶ 134. But the Complaint

contains no facts to allege plausibly that Aetna engaged in any improper conduct vis-à-vis

Conformis or any third party, or that could lead to an inference that Aetna had any inappropriate

motivation. Indeed, to establish improper motive or means, Massachusetts law requires a finding

of "actual malice" or "a spiteful, malignant purpose, unrelated to [a] legitimate corporate interest."

Tuli, 656 F.3d at 43 (quoting King v. Driscoll, 418 Mass. 576, 587 (1994)). Aetna's efforts to craft

its CPB and administer its plans according to a rational understanding of medical necessity and




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clinical judgment is not an improper motive. Id.; see also Hamann v. Carpenter, 937 F.3d 86, 90

(1st Cir. 2019) (rejecting cursory allegations parroting the element of improper motive or means).

        At bottom, Aetna reached its opinion that customized knee implants were experimental and

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disagree with that conclusion, but a disagreement of opinion on the available scientific and medical

data is not grounds to say there has been a "misrepresentation," let alone sufficient to establish

improper motive or means. Accordingly, Count II should be dismissed.

        3.       Count III Fails to State a Claim for Unfair Trade Practices under Chapter 93A

        Chapter 93A is intended to protect consumers from "[u]nfair methods of competition and

unfair or deceptive acts or practices in the conduct of any trade or commerce." M.G.L. c. 93A,

§ 2(a). In the context of business disputes where both parties are sophisticated commercial entities,

courts must determine whether the alleged misconduct rises to an unacceptable level of unfairness,

considering the "nature of the challenged conduct and the purpose and effect of that conduct"; "the

standard of the commercial marketplace"; and "the equities between the parties, including what

both parties knew or should have known." Malden Transp., Inc. v. Uber Techs., Inc., 404 F. Supp.

3d 404, 419 (n. Mgss. /019). In gddition, ronformis bens the, burden to allege plgusibly not only

that Aetna's acts were unfair or deceptive, but also that Conformis suffered a "loss of money or

property," and that Aetna's allegedly unfair or deceptive acts caused such loss. M.G.L. c. 93A, §

11; see Lyle Richards Int'l, Ltd. v. Ashworth, Inc., 132 F.3d 111, 115 (1st Cir. 1997) (loss under §

11 must have stemmed from deceptive act).

        Conformis fails to identify any loss that would support the extraordinary remedies

potentially available under Chapter 93A, alleging instead that it suffered damage for which there

is "no adequate remedy at law"—i.e., that money damages cannot redress its alleged injuries. See,

e.g., Ruggieri v. MI. W. Corp., 826 F. Supp. 2d 334 (D. Mass. 2011); Compl. ¶ 147. Conformis


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fails to specify any acts or practices by Aetna that would constitute conduct sufficient to support a

Chapter 93A violation. Given this deficiency in the claim, the Court should reject Conformis'

attempt to use a Chapter 93A claim as leverage to obtain what Conformis was not able to secure

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        As described above, Conformis challenges Aetna's statements in the CPB concerning

Aetna's opinions and conclusions that customized knee implants are not shown to be effective by

sufficient clinical studies. These factual allegations, even taken as true, lead only to the conclusion

that Aetna made a decision based upon its assessment that the available literature does not establish

that customized knees provide a better clinical outcome than a standard knee replacement device.

There are no allegations of deception, no allegations of stolen information or money, and no

allegations of secrecy.      The allegations concerning Aetna's statement of its opinion and

conclusions on the clinical literature do not come close to crossing the heightened standard of

unfairness that courts require for sophisticated commercial entities to avail themselves of Chapter

93A. Malden Transp., Inc., 404 F. Supp. 3d at 419.

        Additionally, the Chapter 93A claim is wholly derivative of Conformis' untenable tortious

imerference and product ,7:,........ .`...........♦ claims, and ♦the Court should dismiss Count III on ♦this

basis. See Reed v. Zipcar, Inc., 883 F. Supp. 2d 329, 334-35 (D. Mass. 2012), aff'd, 527 F. App'x

20 (1st Cir. 2013) (discussing the need for a litigant to offer separate arguments in support of a

Chapter 93A claim for it to be "entertained irrespective of whether other colorable bases for relief

remain"); Pimental v. Wachovia Mortg. Corp., 411 F. Supp. 2d 32, 40 (D. Mass. 2006) (dismissing

Chapter 93A claim where plaintiff failed to sustain contract and negligence claims on which it was

based, and plaintiff made "no unique arguments" as to that claim). Just like a party's advancement

of its own legitimate interest cannot sustain a tortious interference claim, the same facts fail to




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state a plausible claim that the party's conduct was egregious enough to constitute unfair or

deceptive acts or practices under Chapter 93A. See Stemgent, Inc. v. Orion Equity Partners, No.

SUCV20132212BLS2, 2016 WL 8200496, at *5 (Mass. Super. Ct. Dec. 22, 2016) (dismissing

onmplaint where plaintiff failed to prnve tnrtinng interferenre and Chapter Al A olaimg relying
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the same facts that did not show improper motive/means or requisite level of unfair conduct).

       Finally, no Chapter 93A claim can lie against Aetna on the facts alleged, because the

challenged conduct did not occur "primarily and substantially" in Massachusetts. See M.G.L. c.

93A, § 11 ("No action shall be brought or maintained under this section unless . . . the unfair or

deceptive act or practice occurred primarily and substantially within the commonwealth [of

Massachusetts]."). Courts are obliged to determine "the center of gravity of the circumstances that

give rise to the claim." Kenda Corp. v. Pot 0 'Gold Money Leagues, Inc., 329 F.3d 216, 235 (1st

Cir. 2003) (quoting Kuwaiti Danish Computer Co. v. Digital Equip. Corp., 438 Mass. 459, 473

(2003)). In many—but not all—cases where the plaintiff resides in Massachusetts and the injury

allegedly occurred here, a Chapter 93A claim can survive a "primarily and substantially" dismissal

challenge at the pleadings stage. Jofran Sales, Inc. v. Watkins & Shepard Trucking, Inc., 216 F.
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communications between a defendant and third parties, courts have said that the 'center of gravity'

lies in the state in which the communications occurred." Pegasystems, Inc. v. Appian Corp., 424

F. Supp. 3d 214, 224-25 (D. Mass. 2019) (quoting HipSaver Co. v. J.T. Posey, Co., 490 F. Supp.

2d 55, 71 (D. Mass. 2007)).

       Plaintiffs allege that Conformis is based in Massachusetts, and they will presumably argue

that the alleged injury to Conformis occurred within the Commonwealth as well. However, unlike

the defendants in Pegasystems, Inc., here, neither named Defendant is based in Massachusetts, and




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the CPB is not alleged to have been created or published from here. Further, the so-called

"misrepresentation" forming the basis for Chapter 93A liability is not alleged to have been directed

at "physicians and patients and/or prospective physicians and patients" within this

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showing no contact with Massachusetts, the relevant conduct did not occur primarily and

substantially in the Commonwealth, and the Chapter 93A claim should be dismissed.

       4.       Conformis Failed to Allege Its Fraud-Based State Law Claims with Sufficient
                Particularity

       Each of Conformis' common law claims, while not styled as fraud counts, are premised on

alleged misrepresentations by Aetna concerning customized knee devices. Rule 9(b) provides that,

"[i]n alleging fraud or mistake, a party must state with particularity the circumstances constituting

fraud or mistake." Fed. R. Civ. P. 9(b). The First Circuit has explained that "[t]he circumstances

to be stated with particularity under Rule 9(b) generally consist of 'the who, what, where, and

when of the allegedly [misleading] representation." Kaufman v. CVS Caremark Corp., 836 F.3d

88, 91 (1st Cir. 2016) (quoting Alt. Sys. Concepts, Inc. v. Synopsys, Inc., 374 F.3d 23, 29 (1st Cir.

2004)) (alteration in original). Conformis' state law claims actually sound in fraud, and they fail

to meet the heightened particularity required for pleading fraud. Fraud-based Chapter 93A claims

are subject to Rule 9(b). See Mulder v. Kohl's Dep't Stores, Inc., 865 F.3d 17, 21-22 (1st Cir.

2017) (observing that the Rule 9(b) heightened pleading standard applies to Chapter 93A claims

involving fraud); Zak Law Offices, P.C. v. Reed, No. 10-10333-LTS, 2010 WL 2802068, *4 (D.

Mass. July 13, 2010) (same). Where an alleged misrepresentation underlies a tortious interference

claim, Rule 9(b) is triggered. N. Am. Catholic Educ. Programming Found., Inc. v. Cardinale, 567

F.3d 8, 14 (1st Cir. 2009) (dismissing tortious interference claim under Rhode Island law for

noncompliance with Rule 9(b)). Courts have also applied Rule 9(b) to disparagement claims. See,



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e.g., Demandforce, Inc. v. Patterson Dental Supply, Inc., No. 19-1116 (PAM HB), 2019 WL

4721273, at *3-4 (D. Minn. Sept. 26, 2019) (dismissing trade libel claim under Delaware law for

lack of particularity under Rule 9(b)).

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Aetna. Conformis alleges only that Aetna's CPB designates customized knee implants as

"experimental and investigational because [their] effectiveness has not been established[,]" as well

as the conclusory assertion that this designation constitutes a "misrepresentation" to unidentified

physicians and patients. See Compl. ¶¶ 42, 134, 144. Neither allegation provides any specificity,

and neither is specific to Conformis. Accordingly, Counts I, II, and III run afoul of Rule 9(b)'s

particularity requirements for allegations sounding in fraud and should be dismissed.

B.     Conformis' ERISA Claims (Counts IV-VI) Should be Dismissed Because the
       Genesis Plan Contains an Enforceable Anti-Assignment Provision

       ERISA provides that a claim for benefits under 29 U.S.C. § 1132(a)(1)(B) may only be

brought "by a participant or beneficiary," and a claim for an injunction or other appropriate

equitable relief under § 1132(a)(3) by a "participant, beneficiary, or fiduciary." Nowhere in the

Complaint do Plaintiffs allege Conformis is a participant, beneficiary, or fiduciary as to the

Genesis Plan, which would grant Conformis standing under ERISA. Rather, Conformis' claim to

statutory standing in Counts IV, V, and VI hinges entirely on Mr. Schaub's purported assignment

of benefits to Conformis. See Compl. irll 153-54, 168-69, 171, 176; see also Compl. Ex. A.

       Plaintiffs admit, however, that the Genesis Plan contains an anti-assignment provision. See

Comp. ¶ 155. Indeed, the Plan provides:

       Assignment of benefits

       When you see a network provider they will usually bill us directly. When you see
       an out-of-network provider, we may choose to pay you or to pay the provider
       directly. Unless we have agreed to do so in writing and to the extent allowed by



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        law, we will not accept an assignment to an out-of-network provider or facility
        under this plan. This may include:

            •   The benefits due

            •   The right to receive payments or

            •   Any claim you make for damages resulting from a breach, or alleged breach,
                of the terms of this plan.

Exhibit 2 at 76)3

        Recognizing that Conformis lacks any basis to sue under ERISA other than its purported

assignment, Plaintiffs allege that the Plan's anti-assignment provision is "invalid." See Compl.

¶ 155. Plaintiffs allege only one fact in support of this claim—that the Genesis Plan is over 125

pages long. See id. Beyond alleging this one patently insufficient fact, Plaintiffs argue that the

provision is invalid for a host of legally conclusory reasons, see id. ¶¶155-156, which the Court

can (and should) disregard, see Iqbal, 556 U.S. at 678 ("[T]he tenet that a court must accept as true

all of the allegations contained in a complaint is inapplicable to legal conclusions").

        In addition to being predicated on conclusory legal allegations, Plaintiffs' claim that the

Genesis Plan's anti-assignment provision is invalid runs contrary to First Circuit precedent. The

First Circuit has held, "[clonsistent with the other circuits which have addressed this issue, . . . that

ERISA leaves the assignability or non-assignability of health care benefits under ERISA-regulated

welfare plans to the negotiations of the contracting parties." City of Hope Nat'l Med. Ctr. v.

HealthPlus, Inc., 156 F.3d 223, 229 (1st Cir. 1998). Other circuit courts have held, similarly, that

plans may include anti-assignment provisions and such provisions are enforceable. See, e.g.,

Physicians Multispecialty Grp. v. Health Care Plan of Horton Homes, Inc., 371 F.3d 1291, 1295




13 The Court may consider the Genesis Plan document at this stage because Plaintiffs discuss it
throughout their Complaint. See note 11 supra.


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(I I th Cir. 2004) ("[A]n assignment is ineffectual if the plan contains an unambiguous anti-

assignment provision."); St. Francis Reg? Med. Ctr. v. Blue Cross & Blue Shield of Kan., Inc., 49

F.3d 1460, 1464-65 (10th Cir. 1995) ("ERISA's silence on the issue of the assignability of

insiirAnce benefits leaves the matter to the Agreement of the confrActing parties"); nnvidow& v

Delta Dental Plan of Cal., Inc., 946 F.2d 1476, 1478 (9th Cir. 1991) ("As a general rule of law,

where the parties' intent is clear, courts will enforce non-assignment provisions.").

             Additionally, the First Circuit has held that anti-assignment provisions are "not contrary to

public policy," see City of Hope Nat'l Med. Ctr., 156 F.3d at 229, thus rejecting Conformis' exact

argument here. See Compl. ¶ 156. Moreover, Plaintiffs' attempt to circumvent the Genesis Plan's

anti-assignment provision would frustrate important policy goals that such provisions serve. Anti-

assignment provisions limit the pool of parties who may bring ERISA claims to those who are

directly impacted by the specific claim at issue—which furthers ERISA' s goal of "promot[ing] the

interests of employees and their beneficiaries in employee benefit plans." Shaw v. Delta Air Lines,

Inc., 463 U.S. 85, 90 (1983). Here, Conformis does not allege that it is owed payment for its

device used in Mr. Schaub's surgery, or that it was otherwise injured in any way with respect to
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             Given that Plaintiffs admit that the Genesis Plan has an applicable anti-assignment

provision, and that the First Circuit has enforced such provisions, Mr. Schaub's assignment is

invalid. Accordingly, Conformis lacks statutory standing under ERISA, and Counts IV, V, and

VI should he dismissed, with prejudice, as to Conformis.14



14 Even if the anti-assignment provision was unenforceable, the Court should conclude that
Conformis' assignment is invalid for lack of consideration, based on the four corners of the
document (attached to the Complaint at Exhibit A). See, e.g., Benefit Consulting All., LLC v. AIG
Life Ins. Co., No. 3:07-1136, 2008 WL 11510630, at *8 (M.D. Tenn. Sept. 26, 2008) (concluding
that assignment lacked consideration because "Benefit Consulting suffers no detriment as a result


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C.     To the Extent Conformis Alleges that Its Assignment is Valid, Conformis' State Law
       Claims (Counts I-III) Should be Dismissed as Preempted by ERISA

       If for some reason the assignment of benefits is valid and Conformis can tag along with

Mr. Schaub's ERISA claims, all of Conformis' state law claims are duplicative and should be

dismissed as preempted by ERISA.

       Pursuant to 29 U.S.C. § 1144(a), ERISA "shall supersede any and all State laws insofar as

they may now or hereafter relate to any employee benefit plan" covered by the statute. "A law

`relates to' an employee benefit plan, in the normal sense of the phrase, if it has a connection with

or reference to such a plan." Rogers v. Rogers & Partners, Architects, Inc., No. CIV.A. 08-11730-

NG, 2009 WL 5124652, at *6 (D. Mass. July 27, 2009).

       The Supreme Court has ruled that "if an individual brings suit complaining of a denial of

coverage for medical care, where the individual is entitled to such coverage only because of the

terms of an ERISA-regulated employee benefit plan, and where no legal duty (state or federal)

independent of ERISA or the plan terms is violated, then the suit falls 'within the scope of' ERISA

§ 502(a)(1)(B)." Aetna Health Inc. v. Davila, 542 U.S. 200, 210 (2004). This Court has read

Davila as imposing a "two-part test to determine whether complete preemption applies"—(1) "the

court must determine whether a plaintiff 'could have brought his claim under ERISA §

502(a)(1)(B)'"; and (2) "there must have been 'no other independent legal duty that is implicated

by [the] defendant's actions.'" Halberg v. McLean Hosp., No. CV 17-11341-FDS, 2018 WL

2209216, at *4 (D. Mass. May 14, 2018) (alteration in original) (citations omitted). Here, both




of the Amendment that could constitute consideration to Mrs. Derrington. Benefit Consulting
gives nothing of value to Mrs. Derrington or to any other person. It undertakes no legal obligation.
It gives up nothing it has a legal right to do").


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prongs under Davila are satisfied, if one accepts Plaintiffs' allegations that Conformis received a

valid and enforceable assignment of benefits from Mr. Schaub.

       First, Plaintiffs allege that, pursuant to 29 U.S.C. § 1132(a)(1)(B), Conformis is entitled to

"recover benefits due to Mr Schaub And enforce the rights of Mr Schaub under the terms of the

Genesis Plan," "[a]s assignee of Mr. Schaub to his claims under the Genesis Plan." See Compl.

154. The first prong of the Davila test is therefore met, accepting Plaintiffs' allegations.

       Second, Plaintiffs' allegations evince that there is "no other independent legal duty" by

Aetna that forms the basis of Conformis' state law claims. See Davila, 542 U.S. at 210. Aetna

has no relationship to/with Conformis, and it owes no duty to Conformis. In Davila, the Supreme

Court observed with respect to both plaintiffs that the "only action complained of' was their health

insurers' refusal to pay medical claims, and the "only connection" between the plaintiffs and their

insurers was the insurers' administration of the plaintiffs' health plans. See id. at 211-12. The

Court concluded, on those facts, that "respondents bring suit only to rectify a wrongful denial of

benefits promised under ERISA-regulated plans, and do not attempt to remedy any violation of a

legal duty independent of ERISA." Id. at 214. So too here. Plaintiffs assert that Aetna's alleged
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Genesis Plan), and Aetna's development of a clinical policy to use in administering ERISA plans.

See, e.g., Compl. IN 3-4. Accordingly, Conformis' state law claims are completely preempted

under the Davila test and should be dismissed. See Davila, 542 U.S. at 210.

       Conformis' Complaint alleges a novel legal theory—i.e., that the administrator of a health

plan should be liable under state law and ERISA to a medical device manufacturer. While Aetna

has not located a case that is directly analogous to Plaintiffs' theory—for good reason since it is

so implausible—a Fifth Circuit opinion illustrates why Conformis' state law claims should be




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dismissed as preempted under ERISA. See Mayeaux v. La. Health Serv. & Indem. Co., 376 F.3d

420 (5th Cir. 2004).

        In Mayeaux, the plaintiffs included a health plan participant and her physician, Dr. Edward

wymAn    Atirl   they "Asserted various causes of Action A Ileged to have Arisen from TICRS'S denial of

insurance coverage for the costs of Dr. Hyman's treatment of Mayeaux's illness with high doses

of antibiotics." Id. at 423. Notably, defendant BCBS had denied coverage for "High Dose

Antibiotic Treatment" ("HDAT") that Dr. Hyman prescribed, on grounds that "it was excluded

under the terms of [Ms. Mayeaux's] Plan as experimental or investigational." Id. In addition to

ERISA claims, Dr. Hyman brought "state law claims, which were grounded in negligence, unfair

trade practices, defamation, and intentional interference with contracts." Id. at 432.

        The Fifth Circuit concluded that all of Dr. Hyman's state law claims were preempted. First,

the Fifth Circuit concluded that Dr. Hyman's unfair trade practices claim was preempted, agreeing

with the district court's observation that "[t]he purpose of these proceedings is to collaterally attack

[BCBS's] determination of the actual obligations under the terms of the insurance policy." Id. at

432-33 (second brackets in original). The Fifth Circuit noted that "[i]f a medical practitioner could

collaterally- challenge a plan's decision not to provide benefits, he vv'ould directly affect the

relationship between the plan and its beneficiary, two traditional ERISA entities," and "[t]hat

clearly cannot be allowed, so Dr. Hyman's . . . unfair trade practice claims cannot survive ERISA

conflict preemption." Id. at 433.

       Second, the Fifth Circuit observed that "[t]o allow a medical practitioner to sue for

defamation and intentional interference when an ERISA plan administrator decides that the plan

does not cover a particular medical treatment for a particular participant or beneficiary would

undoubtedly jeopardize the relationships among the traditional ERISA entities, of which the




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treating physician is not one." Id. The court therefore concluded that the claims were preempted

as "the sort of claims that go to the very heart of the ERISA administration process." Id.

       The Fifth Circuit's reasoning in Mayeaux is directly applicable to Conformis' state law

clAims Conformis is Attempting to wedge itsPlf into the rPlAtionship bPrwPPn       A Plan   participant

and his plan's administrator, to force Aetna to cover Conformis' medical device. At bottom, the

relationship that Conformis seeks to piggyback onto is governed by the terms of the Genesis Plan,

which is covered by ERISA, and for that reason Conformis' state law claims should be dismissed

as preempted.15

D.     Plaintiffs' Breach of Fiduciary Duty Claim Under 29 U.S.C. § 1132(a)(3) (Count V)
       Should be Dismissed as Duplicative of Plaintiffs' Denial of Benefits Claim

       Plaintiffs style Count V as a claim for "Violation of Fiduciary Duties of Loyalty and Due

Care in Violation of ERISA," which purportedly arises under 29 U.S.C. § 1132(a)(3). See Compl.

In 164, 174. However, Count V is impermissible, as it is well-settled that an ERISA plaintiff with
an adequate remedy under § 1132(a)(1)(B) cannot alternatively plead and proceed under §

1132(a)(3). For this reason, Count V should be dismissed as to Mr. Schaub, and as to Conformis

to the extent it brings a breach of fiduciary duty claim in its capacity as Mr. Schaub's assignee.16


15 Accepting the allegation that Conformis holds a valid assignment, Mr. Schaub has no standing
to bring suit in his own name. See, e.g., CardioNet, Inc. v. Cigna Health Corp., 751 F.3d 165, 178
(3d Cir. 2014) ("[A]ssuming the validity of the Participants' assignments to the Providers,
CardioNet and LifeWatch now stand in the shoes of the Participants, and have 'standing to assert
whatever rights the assignor[s] possessed.") (alteration in original) (underline added, italics in
original). Indeed, as the First Circuit has observed, "[i]f an assignee seeking relief in court stands
in the place of an assignor, there has been a substitution rather than an expansion of the parties."
City of Hope Nat'l Med. Ctr., 156 F.3d at 228 (emphasis added). In other words, Plaintiffs'
Complaint as presented would set up the bizarre procedural posture where a product manufacturer
remained as the sole claimant in an ERISA denial of benefits action seeking to have its device
covered by Aetna on a nationwide basis.
16 As discussed in Section IV.E infra, to the extent Conformis alleges that Aetna breached fiduciary
duties outside Conformis' assignment from Mr. Schaub, Conformis' claims should be dismissed
for failing to allege plausibly that Aetna owed a fiduciary duty to Conformis.


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         The Supreme Court has described 29 U.S.C. § 1132(a)(3) as a "'catchall' provision[]" that

acts "as a safety net, offering appropriate equitable relief for injuries caused by violations that

§ 502 does not elsewhere adequately remedy." Varity Corp. v. Howe, 516 U.S. 489, 512 (1996)

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benefits under the plan pursuant to [29 U.S.C. § 1132(a)(1)], there is an adequate remedy under

the plan which bars a further remedy under [§ 1132(a)(3)]." LaRocca v. Borden, Inc., 276 F.3d

22, 28 (1st Cir. 2002); see also Turner v. Fallon Cmty. Health Plan, Inc., 127 F.3d 196, 200 (1st

Cir. 1997) (holding that a beneficiary could not sue under section 1132(a)(3) because he sought

"damages, not equitable relief, and his grievance . . . is specifically addressed by 29 U.S.C. §

1132(a)(1)(B)").

         Plaintiffs' fiduciary breach claims sound under 29 U.S.C. § 1132(a)(1)(B), which entitles

a participant to file a civil action "to recover benefits due to him under the terms of his plan, to

enforce his rights under the terms of the plan, or to clarify his rights to future benefits under the

terms of the plan." Specifically, Plaintiffs allege that Aetna breached fiduciary duties            failing

to act prudently, and in failing to act in accordance with the documents governing the Genesis

Plan," and that lais assignee of Mr. Schaub, Conforrnis is entitled to recover benefits. due to '—

and to enforce his rights under the terms of the Genesis Plan." See Compl. ¶¶ 166, 171 (emphases

added). Accordingly, Plaintiffs' allegations in Count V amount to a claim for benefits, remedied

by § 1132(a)(1)(B), and their claim under § 1132(a)(3) should be dismissed. See, e.g., Weissman,

2020 WL 1446734, at *7 ("Because the complaint seeks relief that is generally available under §

1132(a)(1)(B), it must be dismissed because it has inappropriately repackaged a request for relief

under § 1132(a)(1)(B) as an action under § 1132(a)(3)."); Kourinos v. Interstate Brands Corp.,

324 F. Supp. 2d 105, 107 (D. Me. 2004) (dismissing § 1132(a)(3) claim and observing that "No




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the extent that Count II(a) alleges that IBC violated its fiduciary duty by wrongfully withholding

benefits to which Kourinos was entitled under the plan, Kourinos' remedy is a claim under section

1132(a)(1)(B)"); see also Johns v. Blue Cross Blue Shield ofMich., No. 2:08-CV-12272, 2009 WL

646616   at   *4 (R T7 Mich MAI- 10 /009) (rejecting claim under /9 TISC § 11390)(3) for the

use of a clinical policy as part of the decision to deny a claim for benefits, reasoning that it was

simply a "repackaged denial-of-benefits claim").17

E.      Conformis Fails to Allege that Aetna Owed It a Fiduciary Duty

        In Count V, Conformis asserts not only that Aetna breached fiduciary duties allegedly

owed under the purported assignment from Mr. Schaub, but Conformis slips in allegations of

fiduciary breaches that have nothing at all to do with Mr. Schaub's assigned claims. For instance,

Plaintiffs allege that Aetna has somehow breached fiduciary duties in "refusing to cover

Conformis' products including the Conformis System," and "refusing to allow Conformis any

opportunity to negotiate coverage." See Compl. ¶ 172. These claims fail as a matter of law for

failure to allege plausibly that Aetna had a fiduciary duty to Conformis in these respects.




17 If the Court were inclined to provide Plaintiffs an opportunity to amend their Complaint, the
Court should direct them to plead only a claim for benefits under 29 U.S.C. § 1132(a)(1)(B).
Courts in the First Circuit have observed that a plaintiff may not plead duplicative breach of
fiduciary duty claims under 29 U.S.C. § 1132(a)(3) in the alternative to benefit claims under 29
U.S.C. § 1132(a)(1)(B). See, e.g., Cotten v. Blue Cross & Blue Shield of Mass. HMO Blue, Inc.,
No. CV 16-12176-RGS, 2018 WL 6416813, at *3 (D. Mass. Dec. 6, 2018) ("Plaintiffs contend
that their section 1132(a)(3) claim can similarly be pled in the alternative. I disagree."). Because
Plaintiffs fail to articulate a factual basis for a § 1132(a)(3) claim that is separate from their denial
of benefits claim under § 1132(a)(1)(B)—nor could they, given that all of their fact allegations
derive from Aetna's administration of benefits under the Genesis Plan—it would be futile for
Plaintiffs to attempt to replead Count V. See, e.g., Jones v. Experian Info. Solutions, Inc., 141 F.
Supp. 3d 159, 161 (D. Mass. 2015) (observing that "courts have discretion to deny leave [to amend]
under 'appropriate circumstances,'" including "futility," and "[i]n determining futility, the court
applies the same standard as a motion to dismiss under Fed. R. Civ. P. 12(b)(6)").


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       Under ERISA's statutory framework, an actor "is a fiduciary with respect to a plan to the

extent . . . he exercises any discretionary control" with respect to "management of such plan" or

"in the administration of such plan." 29 U.S.C. § 1002(21)(A); see also Stein v. Smith, 270 F.

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plan and also that the defendant breached a duty within his or her discretion and control).

       Fiduciary liability arises only in "specific increments correlated to the . . . performance of

particular fiduciary functions in service of the plan, not in broad general terms." Id. (citing Beddall

v. State Street Bank & Tr. Co., 137 F.3d 12, 18 (1st Cir. 1998) (emphasis added)). As relevant

here, "a plan administrator engages in a fiduciary act when making a discretionary determination

about whether a claimant is entitled to benefits under the terms of the plan documents." Varity

Corp., 516 U.S. at 511 (emphasis added). To that end, a court must evaluate whether the defendant

was "performing a fiduciary function [under the terms of the relevant plan] when taking the action

subject to complaint." Pegram v. Herdich, 530 U.S. 211, 226 (2000). And, importantly, ERISA

requires that a fiduciary "shall discharge his duties with respect to a plan solely in the interest of

the participants and beneficiaries." 29 U.S.C. § 1104(a)(1).

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Conformis whatsoever. Plaintiffs do not allege—nor could they—that Aetna assumed under the

terms of the Genesis Plan a duty to cover Conformis' custom knee replacement devices as a general

matter, nor that Aetna had a duty under the Plan to allow Conformis to "negotiate for coverage"

of its devices. Moreover, Conformis cannot allege plausibly that Aetna owed it any duty, given

that ERISA provides that Aetna's fiduciary duties are owed only to "participants and

beneficiaries," and Conformis is neither under the Genesis Plan (or under ERISA). See 29 U.S.C.




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§ 1104(a)(1). Accordingly, any breach of fiduciary duty claim alleged as to Conformis itself is

beyond the scope of Mr. Schaub's assignment and should be dismissed.

F.     Count VI Should be Dismissed Because ERISA Does Not Provide a Private Right of
       Action Under 29 U.S.C. § 1133

       Plaintiffs allege in Count VI that "Aetna failed to provide a reasonable claims procedure,"

see Compl. ¶ 177, for which Plaintiffs purportedly seek relief, see id. ¶ 180. In other words,

Plaintiffs seek to enforce the terms of 29 U.S.C. § 1133 and its implementing regulations, which

set forth the manner in which ERISA plans must adjudicate participant claims and appeals.

       Count VI fails, however, given that courts have ruled that 29 U.S.C. § 1133 "does not

provide for a private cause of action for the recovery of denied benefits." Swanson v. Aetna Life

Ins. Co., No. 15-cv-0785, 2016 WL 54118, at *3 (D. Colo. Jan. 5, 2016); see also Bryson v. United

Healthcare Ins. Co., No. 3:15-cv-00142, 2015 WL 4026009, at *4 (W.D.N.C. July 1, 2015)

(dismissing claim to enforce ERISA claims and appeals rules because § 1132(a) "'provides the

exclusive statement of civil actions available under ERISA'") (citations omitted). Even if § 1133

provided a private cause of action, Count VI would still fail to state a claim against Aetna because

the section applies only to "employee benefit pianist" 29 U.S.C. § 1133 (emphasis added); see

Swanson, 2016 WL 54118, at *3 (noting that § 1133 "establishes requirements of the benefit plan

itself, not of the administrators of the plan"). As Plaintiffs allege, Aetna "administers the

employee-sponsored benefit plans covering Plaintiff Schaub," see Compl. ¶ 3—Plaintiffs do not

allege that Aetna is a benefit plan. Accordingly, Count VI should be dismissed.

G.     Plaintiffs' Request for Prospective Injunctive Relief Should be Dismissed

       Among other remedies, Plaintiffs seek "injunctive and declaratory relief to prevent Aetna's

continuing actions detailed herein that are unauthorized by the Genesis Plan," and an order

"[t]emporarily and permanently enjoining Aetna from continuing to pursue its actions detailed



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herein." See Compl. at pp. 28-29. But Plaintiffs have not alleged facts showing that they have

Article III and/or statutory standing to seek prospective injunctive relief under ERISA.

        The First Circuit has held that "when the incident now lies in the past," prospective

injunctive relief is available only if there is "A   real And illirilefliAte   threat of PlturP 1PgAl violations

rather than an abstract or conjectural one." Asociacion De Periodistas De Puerto Rico v. Mueller,

680 F.3d 70, 84-85 (1st Cir. 2012). "Any past harm that [a plaintiff] allegedly suffered does not

by itself entitle them to obtain equitable relief absent a sufficient likelihood that they will again be

wronged in a similar way." Id. at 85.

        Plaintiffs state no facts to allege plausibly that Mr. Schaub faces a real and immediate threat

of Aetna's denying a future request to cover a custom knee replacement surgery. They do not, for

example, allege that Mr. Schaub is likely to need another knee replacement in the future, or that

Mr. Schaub has plans to seek another knee replacement, and/or that he will seek coverage for such

a procedure under the Genesis Plan. See Compl. ¶ 121.

        Given that none of Plaintiffs' allegations show a probability that they will suffer the same

purported injury in the future, the Court should dismiss Plaintiffs' request for prospective

injunctive relief for lack of Article III standing. Further, to the extent Conformis may argue that

it faces an immediate risk that Aetna will deny claims for custom knee replacement surgeries with

Conformis devices in the future, Conformis has alleged no facts establishing that it—as the product

manufacturer—would have standing under ERISA to seek injunctive relief for such claims.

Conformis' sole basis for bringing ERISA claims against Aetna is its purported assignment from

Mr. Schaub, which does not extend to any other participant's claims (past or future).

                                       V.    CONCLUSION

        Conformis sued Aetna because it could not achieve its business ends through persuasion,

and it is dragging Mr. Schaub's ERISA claim along with it. These claims are legally deficient and


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turn the entire ERISA statutory framework on its head. For the foregoing reasons, Aetna

respectfully requests that the Court dismiss Plaintiffs' Complaint, with the sole exception of Mr.

Schaub's claim in Count V for denial of benefits under ERISA, 29 U.S.C. § 1132(a)(1)(B).


                                                     Respectfully submitted,

                                                     AETNA, INC. and AETNA LIFE
                                                     INSURANCE COMPANY,

                                                     By their attorneys,

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 Dated: July 23, 2020



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                               CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing Memorandum of Law in Support

of Defendants' Motion to Dismiss and that document was served in its entirety on all counsel of

record by the rourt's eM/PfT system.

 Dated: July 23, 2020                               /s/ Stephen M. LaRose
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